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                                       ORDERED.

         Dated: July 24, 2018




                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION
In re:

DALE M WILLIAMS                                              CASE NO. 6:17-bk-07522-CCJ
                                                             CHAPTER 7
            Debtor.
_______________________________/

     ORDER GRANTING MOTION FOR RELIEF FROM THE AUTOMATIC STAY

          THIS CASE came on for hearing on July 12, 2018 at 10:45AM the Motion for Relief from

the Automatic Stay (“Motion”) filed by Specialized Loan Servicing LLC, as servicing agent for

The Bank of New York Mellon f/k/a The Bank of New York as successor Indenture trustee to

JPMorgan Chase Bank, National Association for CWHEQ Revolving Home Equity Loan Trust,

Series 2007- (“Movant”) (Doc. No. 12). For the reasons stated orally on the record, it is

          ORDERED:
          1.     The Motion (Doc. No. 12) is granted.

          2.     The automatic stay arising by reason of 11 U.S.C. §362 of the Bankruptcy Code is

terminated as to Movant’s interest in the following property:
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LOT 26, ALMOND TREE ESTATES, ACCORDING TO THE PLAT THEREOF, AS
RECORDED IN PLAT BOOK 21 PAGES 33-37, OF THE PUBLIC RECORDS OF
ORANGE COUNTY, FLORIDA.

AKA 1021 Almond Tree Circle, Orlando, Florida 32835-8006 (“collateral”)

       3.     The underlying obligation, as described in the Amended Reaffirmation Agreement

(Doc. No. 30), was reaffirmed by the Order on Reaffirmation (Doc. No. 31).

                                                 ###
Attorney Gavin Stewart is directed to serve a copy of this order on non-CM/ECF interested parties
and file a proof of service within 3 days of entry of the order.
